             Case: 6:18-cv-00228-CHB Doc #: 4
                                            2 Filed: 10/12/18
                                                     08/27/18 Page: 1 of 6
                                                                         4 - Page ID#: 38
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                      Eastern District
                                                   __________  DistrictofofKentucky
                                                                            __________
                                                                           Southern Division at London
             UNITED STATES OF AMERICA                               )
                                                                    )
                                                                    )
                                                                    )
                            Plaintiff(s)                            )
                                                                    )
                                v.                                           Civil Action No. 6:18-cv-228-CHB
                                                                    )
                   AMBER SCOTT, ET AL                               )
                                                                    )
                                                                    )
                                                                    )
                           Defendant(s)                             )

                                                   SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) AMBER SCOTT
                                           28 Harbor Street
                                           Nancy, KY 42544




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: A. George Mason, Jr.
                                           George Mason Law Firm, PSC
                                           3070 Lakecrest Circle
                                           Suite 400, PMB 278
                                           Lexington, KY 40513


       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                 CLERK OF COURT


Date:             08/27/2018
                                                                                               Signature of Clerk or Deputy Clerk
                                                                                                                                    rbb
              Case: 6:18-cv-00228-CHB Doc #: 4
                                             2 Filed: 10/12/18
                                                      08/27/18 Page: 2 of 6
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AO 440 (Rev. 06/12) Summons in a Civil Action (Page 2)

 Civil Action No. 6:18-cv-228-CHB

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)             Amber Scott
 was received by me on (date)              10-10-18                      .

           ’ I personally served the summons on the individual at (place)
                                                                                  on (date)                            ; or

           ’ I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           ’ I served the summons on (name of individual)                                                                       , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                  on (date)                            ; or

          ’ I returned the summons unexecuted because
          XX                                                                 See Below                                               ; or

           ’ Other (specify):
                                                                                                                                            .


           My fees are $                           for travel and $                   for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:       10-10-18                                                 /s/ A. George Mason, Jr.
                                                                                              Server’s signature

                                                                      A. George Mason, Jr.
                                                                                          Printed name and title

                                                                  George Mason Law Firm, PSC
                                                                  3070 Lakecrest Circle, Suite 400, PMB 278
                                                                  Lexington, KY 40513
                                                                                              Server’s address

 Additional information regarding attempted service, etc:
       The restricted certified mailing of summons and complaint for the above named Defendant was
       not returned to my office, and the USPS Tracking states that as of October 10, 2018 that the mailing
       is "Unclaimed, being returned to sender."



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